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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
             v.                                   NO. 3:cr-16-254

DAVID KLEPADLO, and                               (JUDGE CAPUTO)
DAVID D. KLPADLO &
ASSOCIATES, INC.
      Defendants.

                            MEMORANDUM ORDER
      Presently before me is a dispute over the appropriate United States Sentencing
Guideline (U.S.S.G.) to apply in sentencing the Defendant, David Klepadlo. Klepadlo
entered a plea of guilty on behalf of himself and David D. Klepadlo & Associates, Inc.
(DKA), his civil and environmental engineering firm, to one count of violating 33
U.S.C. § 1319(c)(4), False Statements in Violation of the Clean Water Act (CWA),
and one count of violating 18 U.S.C. § 1512(c)(2), Tampering With a Witness. (Doc.
26). The focus of this memorandum is the appropriate sentencing guideline calculation
for Klepadlo’s violation of § 1319(c)(4).
      The CWA prohibits pollutant discharge into the navigable waters of the United
States except in accordance with certain permits. 33 U.S.C. § 1311(a). Pursuant to the
CWA, the Environmental Protection Agency’s (EPA) National Pollutant Discharge
Elimination System (NPDES) is responsible for issuing permits that place boundaries
on the amount of pollutants an entity is allowed to discharge into a waterway. 33
U.S.C. § 1311(m). In accordance with the purpose of the CWA, such permits aim to
ensure that our nation’s navigable waters remain safe for drinking, fishing, swimming,
and various other activities. Any treatment facility that discharges wastewater into a
navigable river from a point source must obtain an NPDES permit. (See id.). Such
NPDES permits are specific to the processes of the facility and describe the terms and
conditions that the permit holder must comply with in order to properly treat
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discharged wastewater. (See id.). Each permit holder participates in a self monitoring
system by which he collects and tests his own samples in accordance with local
requirements and submits his own Discharge Monitoring Reports (DMRs) on a
prescribed basis. (See id.). In Pennsylvania, the Pennsylvania Department of
Environmental Protection (PADEP) is responsible for administering the NPDES
program. (Final Presentence Investigation Report, Doc. 45 at ¶¶ 7-8). In this case, the
Greenfield Township Sewer Authority (GTSA), which was operated and managed by
Klepadlo and DKA, was subject to a NPDES permit. (See Indictment, Doc. 1 at ¶¶ 13-
15). The GTSA permit set discharge limits for various pollutants, including ammonia-
nitrogen. (Id. at ¶ 17). Similarly, the Benton-Nicholson Joint Sewer Authority
(BNSA), which was also operated and managed by Klepadlo and DKA, owns and
operates a publicly owned treatment facility that was likewise subject to a NPDES
permit. (Id. at ¶¶ 22-24). The BNSA permit set discharge limits for ammonia-nitrogen
among other pollutants. (Id. ¶ 26). For over a year, Klepadlo regularly failed to take
samples and measurements as prescribed by these NPDES permits, as he only visited
the plants about one to three times per week. (See Doc. 45 at ¶ 8-13). To cover up his
neglect for the daily and monthly sampling requirements, Klepadlo submitted falsified
sampling results in monthly DMRs for both GTSA and BNSA. (See id. at ¶¶ 10-14).
When confronted by authorities from the PADEP, Klepadlo acknowledged this
business practice was ongoing and repetitive at both facilities. (Id. at ¶11).
      The issue before me is whether the appropriate sentencing guideline for
Klepadlo’s violation of § 1319(c)(4) is U.S.S.G. § 2Q1.2, which applies to offenses
that involve record keeping, tampering, and falsification regarding “hazardous or toxic
substances,” or U.S.S.G. § 2Q1.3, which applies to offenses that involve record
keeping, tampering, and falsification with respect to “other environmental pollutants.”
The Final Presentence Investigation Report suggests that the applicable guideline is
§ 2Q1.2. Its sentencing calculation is as follows:
             Base Offense Level: The guideline for a violation of 33 U.S.C. §
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            1319(c)(4) is USSG § 2Q1.2 because the offense involved hazardous or
            toxic substances (ammonia). The base level is 8. USSG § 2Q1.2(a).
            Specific Offense Characteristics: The offense resulted in an ongoing,
            continuous, or repetitive discharge, release, or emission of a hazardous
            or toxic substance into the environment. Six levels are added. USSG §
            2Q1.2(b)(1)(A).
            Specific Offense Characteristics: The offense involved transportation,
            treatment, storage, or disposal without a permit or in violation of a
            permit. Four levels are added. USSG § 2Q1.2(b)(4).
(Id. at ¶¶ 24-26) (emphasis added).
      On the other hand, Klepadlo argues that the applicable sentencing guideline is
2Q1.3 because
            Mr. Klepadlo’s Clean Water Act conviction relates to the operation of two
            small, community-owned wastewater treatment plants with no industrial
            users. They both receive typical household sewage–and do not receive
            manufacturing or toxic wastes. Thus, § 2Q1.3 is the more appropriate
            guideline offense based on Mr. Klepadlo’s offense conviction.
(Def. Sentencing Memo. at 10). Klepadlo further contends, contrary to the
Government’s position, ammonia is not a hazardous substance. (Id. at 11). Instead, he
alleges that the Indictment properly characterizes “ammonia-nitrogen” as a “pollutant
under the CWA” to demonstrate that § 2Q1.2 is not appropriate. (Id.).
      The applicable sentencing guideline for Klepadlo’s violation of § 1319(c)(4) is
§ 2Q1.2, because he falsified record keeping documents, DMRs, that required him to
test for ammonia, a substance designated as “hazardous” by the relevant statutes and
regulations. As explained above, Klepadlo routinely failed to meet the daily and
monthly sampling requirements set forth in the NPDES permits for GTSA and BNSA.
(Id. at ¶ 10). The Indictment explains that the NPDES permits for these treatment
facilities set specific levels for pollutant discharge, including “ammonia-nitrogen.”
(Doc. 1 at ¶ 17, 26).This chemical compound is a measure of the amount of ammonia
commonly found in wastewater. See ENVTL. PROTECTION AGENCY, 78 FR 52192, Final
Aquatic Life Ambient Water Quality Criteria For Ammonia—Freshwater 2013,
available at https://www.govinfo.gov/content/pkg/FR-2013-08-22/pdf/2013-20307.pdf
(explaining that ammonia is a constituent of nitrogen pollution that exists in aquatic
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environments). The EPA created a list of all toxic or hazardous substances according
to the definition found in the Comprehensive Environmental Response Compensation
and Liability Act (CERCLA). See 40 C.F.R. § 302.4. The Clean Water Act incorporates
the listing of ammonia as a “hazardous” substance under 33 U.S.C. § 1321(b)(2).
      Klepadlo argues that “ammonia-nitrogen” is a pollutant as stated in the
Indictment. (See Def. Sentencing Memo. at 11; Doc. 1 ¶ 17). The type of substance,
however, is crucial to determining whether § 2Q1.2 or § 2Q1.3 is appropriate. See
U.S.S.G. § 2Q1.2 n.3 (stating that § 2Q1.2 “applies to offenses involving pesticides or
substances designated toxic or hazardous at the time of the offense by statute or
regulation . . . such as . . . the designation of hazardous substances under the
Comprehensive Environmental Response, Compensation and Liability Act (e.g., 42
U.S.C. § 9601(14)) . . .); U.S.S.G. § 2Q1.3 n.5 (explaining that § 2Q1.3 “applies to
substances which are not pesticides and are not designated as hazardous or toxic.”).
The Indictment’s reference to ammonia-nitrogen as a “pollutant” does not preclude me
from properly treating it in accordance with its listing under 40 C.F.R. § 302.4 as a
“hazardous substance” in determining the applicable guideline.
      Klepadlo alleges that CERCLA’s designation of ammonia as a hazardous
substance “is not controlling or instructive,” because “[a]mmonia is designated as
hazardous under CERCLA for reasons inapplicable to Mr. Klepadlo’s offense of
conviction.” (Def. Sentencing Memo at 11 n.4). To bolster this argument, Klepadlo
explains that “ammonia-nitrogen is a naturally occurring component present even in
properly treated sewage,” “every wastewater treatment plant in the country is permitted
to release ammonia as a component of the discharge,” and 33 U.S.C. § 1362 includes
sewage and its component parts in the definition of a “pollutant.” (Id. at 11). While it
may be the case that ammonia-nitrogen is found in sewage at some level, the NPDES
permits set specific limitations on the amount of ammonia-nitrogen discharge allowed
at GTSA and BNSA to ensure that these facilities operate in compliance with the
CWA. (Doc. 1 at ¶ 17, 26).
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      Klepadlo further explains that a number of courts have applied § 2Q1.3 in cases
involving the wrongful dumping of sewage and sewage treatment into navigable
waterways. See United States v. W. Indies Transp., Inc., 127 F.3d 299 (3d Cir. 1997)
(stating that § 2Q1.3 was the applicable sentencing guideline where defendants
discharged raw sewage into navigable waters); United States v. Kuhn, 345 F.3d 431
(6th Cir. 2003) (same); United States v. Cooper, 173 F.3d 1192 (9th Cir. 1999) (same);
United States v. Strandquist, 993 F.2d 395 (4th Cir. 1993) (same); United States v.
Irby, 944 F.2d 902 (4th Cir. 1991) (same); United States v. Morris, 6:13-cr-03002
(W.D. Mo., filed Jan. 22, 2013) (same). This authority, however, is irrelevant to the
determination at hand. The issue, here, turns on the appropriate sentencing guideline
to apply where the defendant falsified records concerning the management of a toxic
or hazardous substance, i.e. ammonia-nitrogen, not cases where the defendant illegally
discharged various pollutants, i.e. sewage.
      Klepadlo does cite two cases from the Northern District of Indiana that applied
§ 2Q1.3 where the defendant falsely reported levels of toxic or hazardous substances
in violation of a NPDES permit. See United States v. Olson, 2:12-cr-00045 (N.D. Ind.,
filed Mar. 20, 2012) (applying § 2Q1.3 where the defendant falsely reported chlorine
levels); United States v. Corn, 3:09-cr-00061 (N.D. Ind., filed June 5, 2009) (applying
§ 2Q1.3 where the defendant falsified sampling results to conceal the discharge of
ammonia in excess of a facility’s permit limits). In response, the government points to
a number of federal cases and recent prosecutions in Pennsylvania where the court
applied § 2Q1.2 in situations where the defendant either discharged wastewater
containing toxic or hazardous substances or tampered with the required monitoring
method for certain toxic or hazardous substances. See United States v. Andrew
Manganas, No. 1:16-cr-209 (M.D Pa., filed July 7, 27, 2016) (applying § 2Q1.2 where
the defendant illegally discharged paint that contained lead into navigable waters);
United States v. Brozena, 2:15-cr-00595 (E.D. Pa., filed Dec. 16, 2015) (applying §
2Q1.2 where the operator of a chicken processing plant failed to comply with the
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requisite level of ammonia-nitrogen permitted by the facility’s NPDES permit, falsified
reports of ammonia-nitrogen levels, and discharged wastewater containing ammonia-
nitrogen into navigable waters); United States v. Crafton, 2:15-cr-00358-1 (E.D. Pa.,
filed Aug. 3, 2015) (applying § 2Q1.2 where the defendant falsely reported and
tampered with test results for chlorine, dissolved oxygen, and pH at a wastewater
treatment plant for Buckingham Valley Nursing Center); United States v. King, 915 F.
Supp. 244, 248 (D. Kan. 1996) (stating that § 2Q1.2 was more appropriate than § 2Q1.3
where the defendant knowingly introduced methyl acrylate into a publicly owned
treatment facility); United States v. Van Loben Sels, 198 F.3d 1161 (9th Cir. 1999)
(applying § 2Q1.2 where the defendant discharged oily wastewater containing
“hazardous levels of benzene”).
      The appropriate sentencing guideline is § 2Q1.2, because Klepadlo falsified
DMRs by recording inaccurate levels of ammonia, a hazardous substance under the
CWA. Under U.S.S.G. 1B1.2(a), the appropriate guideline section applicable to the
offense of conviction is “the offense conduct charged in the count of the indictment or
information of which the defendant was convicted.” Here, Klepadlo was charged under
33 U.S.C. § 1319(c)(4), which prohibits “mak[ing] any false material statements,
representation, or certification in any application, record, report, plan, or other
document filed or required to be maintained” under the Water Pollution Prevention and
Control Chapter of the Clean Water Act. (See Doc. 45 at 1).
      Section 2Q1.2 contains two subsections that deal with recordkeeping violations:
             § 2Q1.2(b)(5)
             (5) If a recordkeeping offense reflected an effort to conceal a
             substantive environmental offense, use the offense level for the
             substantive offense.”
             § 2Q1.2(b)(6)
             (6) If the offense involved a simple recordkeeping or reporting
             violation, decrease by 2 levels.
Klepadlo’s conduct falls under subsection § 2Q1.2(b)(5), because he did not simply
commit a “recordkeeping or reporting violation,” as his actions reflect a conscious

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effort to conceal” his neglect for the dictates of the NPDES permits. For over a year,
he failed to operate and manage GTSA and BNSA. (See Doc. 45 at ¶ 8-13). Klepadlo
only visited each facility a few times per week, even though the NPDES permit for
each facility required daily testing of various pollutants. (Id. at ¶ 10). PADEP
inspectors reported seeing “growth around discharge pipes that caused concern, and
routinely received complaints about foul odors emanating from of the facilities.” (Id.
at ¶¶ 9). To hide his mismanagement and infrequent visits, Klepadlo estimated results
on DMRs, while simultaneously certifying that all pollutant samples were accurately
tested and reported in compliance with the NPDES permits. (See id. at ¶¶ 10-14). At
one point, Klepadlo even claimed that the “the sampling results were ‘estimated’
because ‘there is no reason to test daily’ since the results did not change much daily.”
(Id. at ¶ 11). Thus, the applicable base level for his violation of § 1319(c)(4) is 8.


October 9, 2019                                    /s/ A. Richard Caputo
Date                                              A. Richard Caputo
                                                  United States District Judge




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